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UNITED STA'I`ES DlS'I`RlCT COURT
EASTERN DlS'l`RICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA
MEMORANDUM OF
Plaintiff, DECISION AND ORDER
- against - CV 01-0076 (ADS)
THOMAS FEDE,
Defendant.
x
APPEARANCES‘.
BENTON CAMPBELL
United States Attorney

Eastern District of New York

One Pierrepont Plaza

Brooklyn, New York 11201

By: Tanya Y. Hill

Assistant United States Attorney

JOHN F. KALEY, ESQ.

Attorney for the Defendant

217 Broadway, Suite 707

New York, New York 10007
SPATT, District Judge.

On October 17, 2008, at a sentencing proceeding for the defendant, this Court
determined that the proper United States Sentencing Guideline calculation was total offense
level 18, criminal history category I, resulting in a Guideline range of 27 to 33 months. As

a result of the defendant’s cooperation, the Court downwardly departed and sentenced the

defendant to six months incarceration and three years supervised release.

 

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Among the reasons noted by the Court for the sentence imposed was that, “He was
involved in reprimanding, humiliating and threatening to fire brokers who attempted to sell
other stock to the customers and didn’t pursue the company line.” (Transcript at p. 21).
This comment by the Court was predicated on a portion cf the pre-sentence report, at
paragraph 13, which stated, at page 6, paragraph 13: “Stephen Palumbo was the primary
person to enforce the do-not-sell policy at Harrirnan. I-Ie and other brokers would severely
reprimand, humiliate and/or threaten to fire brokers who attempted to sell other stock to
customers.” It was also based on another fact set forth in the pre-sentence report, as
follows: “Stephen Palumbo, Bosco, Ferras, Follett, Tuozzo and Thomas Fede trained
Harriman brokers and trainees to use fraudulent ‘boiler rocrn’ sales practices to induce
investors to purchase primarily the securities of the companies whose IPOs Harrirnan
underwrote or other highly speculative securities in which Harriman made a market (‘ house
stocks’).”

After the Court imposed the sentence of six months, a reduction of twenty-one
months below the low end of the applicable Guideline range, counsel for the defendant
raised certain points, including suggested mistaken statements made by the Court. In fact,
the Court did withdraw several statements based upon the concerns raised by both counsel.
Then the following colloquy took place:

THE COURT: Okay.

I revise my statement Instead of training the brokers, he trained the
trainees and the cold callers.

 

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MR. KALEY: And, your Honor, he really didn’t intimidate people
In fact, he was one of the victims -

THE COURT: That’s what the presentence report says.

MR. KALEY: So -

THE COURT: Well, I’m not going to change that.

You would have to have a Fatico hearing for me to change that. It’s
in the report.

MR. KALEY: Your Honor, just to make a last minute pitch, I guess,
in light of the fact that he wasn’t training brokers, the point I have made
about the cooperation and the delay, could l implore your Honor to modify
the sentence and impose a less?

THE COURT: You can implore me, but I’m not going to do it.

Your request is denied. The sentence is, in my opinion, the correct
sentence and a fair sentence.

Transcript at p. 30.

On October 20, 2008, John F. Kaley, counsel for the defendant, wrote to the Court
again raising the issue as to conduct of his client, and, in effect denying that his client
reprimanded, humiliated and/or threatened to fire brokers who attempted to sell other
stocks to customers

lnitially, the Court notes that it afforded an opportunity to the defendant to request
a Fatico Hearing on this issue, which, apparently, the defendant’s counsel declined to do.
However, it now appears that the defendant’s counsel is again raising this factual issue.

Therefore, the Court will again offer the defendant the opportunity to have a Fatico

 

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Hearing on this issue. Accordingly, counsel for the defendant is directed to respond in
writing within five days from the date of this order as to whether he requests a Fatico
Hearing on this single factual issue. If no such request is received within five days of the
date of this Order, the Judgment of Conviction will be entered on the terms set forth at the

sentencing on October 17, 2008.

so oRnERED.

Dated: Central Islip, New York
October 23, 2008

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ARTHUR D. sPArI"
Senior United States Distn'ct Judge

 

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